Case 2:17-cv-07698-KSH-CLW Document1 Filed 09/29/17 Page 1 of 8 PagelD: 1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor aupplemien) the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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JS 44 (Rev. 06/17)

 

(b) County of Residence of First Listed Plaintiff MONMOUTH _
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant ESSEX
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

(c) Attorneys (firm Name, Address, and Telephone Number) Attorneys (/f Known)
William J. Fox, Esquire
Law Offices of William J. Fox, P.C.

1626 Pine Street, Philadelphia, PA 19103 (215) 546-2477

 

 

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Piace an “x" in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Government 23 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State mK 1 © 1 Incorporated or Principal Place o4 m4
of Business In This State
O 2° U.S. Government 0 4 Diversity Citizen of Another State O 2 © 2 _ Incorporated and Principal Place o5 o8
Defendant (Indicate Citizenship of Parties in Item I) of Business In Another State
Citizen or Subject of a QO 3 © 3 Foreign Nation o6 O86
Foreign Country
IV. NATURE OF SUIT (piace an "x" in One Box Only) Click here for: Nature of Suit Code Descriptions.
ES CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
CG 110 Insurance PERSONAL INJURY PERSONALINJURY [0 625 Drug Related Seizure O 422 Appeal 28 USC 158 0) 375 False Claims Act
© 120 Marine OC 310 Airplane O 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
O 130 Miller Act OC 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
© 140 Negotiable Instrument Liability O 367 Health Care/ O 400 State Reapportionment
© 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical © 410 Antitrust
& Enforcement of Judgment Slander Personal Injury © 820 Copyrights 0 430 Banks and Banking
1 151 Medicare Act O 330 Federal Employers’ Product Liability © 830 Patent © 450 Commerce
O 152 Recovery of Defaulted Liability O 368 Asbestos Personal © 835 Patent - Abbreviated O 460 Deponation
Student Loans 1 340 Marine Injury Product New Drug Application {0 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability @_840 Trademark Corrupt Organizations
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY © 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle © 370 Other Fraud © 710 Fair Labor Standards O 861 HIA (1395ff) O 490 Cable/Sat TV
1 160 Stockholders’ Suits 1 355 Motor Vehicle O 371 Truth in Lending Act © 862 Black Lung (923) O 850 Securities/Commodities/
© 190 Other Contract Product Liability O 380 Other Personal © 720 Labor/Management © 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations © 864 SSID Title XVI 890 Other Statutory Actions
© 196 Franchise Injury O 385 Property Damage © 740 Railway Labor Act © 865 RSI (405(g)) O 891 Agricultural Acts
C1 362 Personal Injury - Product Liability © 751 Family and Medical © 893 Environmental Matters
__Medical Malpractice Leave Act (1 895 Freedom of Information
[ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|0 790 Other Labor Litigation FEDERAL TAX SUITS Act
1 440 Other Civil Rights Habeas Corpus: © 791 Employee Retirement 1 870 Taxes (U.S. Plaintiff O 896 Arbitration

© 210 Land Condemnation
© 220 Foreclosure

O 230 Rent Lease & Ejectment
6 240 Torts to Land

© 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

or Defendant)
© 871 IRS—Third Party
26 USC 7609

0 463 Alien Detainee
© 510 Motions to Vacate
Sentence

0 441 Voting
OX 442 Employment
0 443 Housing/

Income Security Act

 

 

O 245 Tort Product Liability Accommodations © 530 General 950 Constitutionality of
290 All Other Real Property 6 445 Amer. w/Disabilities -] O 535 Death Penalty IMMIGRATION State Statutes
Employment Other: 462 Naturalization Application
446 Amer. w/Disabilities -] 540 Mandamus & Other [0 465 Other Immigration
Other O 550 Civil Rights Actions

1 555 Prison Condition

© 560 Civil Detainee -
Conditions of
Confinement

1 448 Education

 

 

 

 

 

 

V. ORIGIN (Place an “x” in One Box Only)

M1. Original (12 Removed from 3  Remanded from 4 Reinstated or © 5 Transferred from © 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

VI. CAUSE OF ACTION

Brief description of cause:

ADEA

 

VIL REQUESTED IN
COMPLAINT:

[] CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

VILL RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

DEMAND $

CHECK YES only if demanded in complaint:

JURY DEMAND:

DOCKET NUMBER

 

Yes No

 

DATE

FOR OFFICE USE ONLY* ©

RECEIPT #

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AMOUNT

APPLYING IFP

JUDGE

SIGNATURE OF ATTORNEY OF E PAT
LA ie
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MAG. JUDGE
Case 2:17-cv-07698-KSRUNIDEDISTATES DIS FRICTICAAURT Page 2 of 8 PagelD: 2

FOR THE DISTRICT OF NEW JERSEY — DESIGNATION FORM to be used by counsel to indicate the
category of the case for the purpose of assignment to appropriate calendar.

Address of Plaintiff: _ 57 Center Avenue, Leonardo, NJ 07737
Address of Defendant:__1 Penn Plaza East, Newark NJ 07102

Place of Accident, Incident or Transaction:

 

(Use Reverse Side For Additional Space)

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of
its stock?

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a))

 

YesO Nox
Does this case involve multidistrict litigation possibilities? YesO NoxX
RELATED CASE, IF ANY:
Case Number: Judge Date Terminated:

 

 

Civil cases are deemed related when yes is answered to any of the following questions:
1. Is this case related to property included in an earlier numbered suit pending or within one year previously
terminated action in this court?
YesO Nox

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within
one year previously terminated

action in this court? YesO Nox
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case
pending or within one year previously

 

terminated action in this court? YesO Nox
4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the
same individual? YesO Nox
CIVIL: (Place ¥ in ONE CATEGORY ONLY)
A. Federal Question Cases: B. Diversity Jurisdiction Cases:
1. O Indemnity Contract, Marine Contract, and All Other Contracts!. O Insurance Contract and Other Contracts
2. O FELA 2. O Airplane Personal Injury
3. GO Jones Act-Personal Injury 3. O Assault, Defamation
4, O Antitrust 4. O Marine Personal Injury
5. O Patent 5. O Motor Vehicle Personal Injury
6. O Labor-Management Relations 6. O Other Personal Injury (Please specify)
7. O Civil Rights 7. O Products Liability
8. O Habeas Corpus 8. O Products Liability — Asbestos
9. Securities Act(s) Cases 9, © All other Diversity Cases
10. cial Security Review Cases (Please specify)

11. &All other Federal Question Cases

(Please specify) a
Abe /P ARBITRATION CERTIFICATION

(Check appropriate Category)
I, William J. Fox, Esquire counsel of record do hereby certify:

Pursuant to Local Civil Rule 53.2, Section 3) that to the best of my knowledge and belief, the damages
recoverable in this civil action case exceed the sum of $150,000.00 exclusive of interest and costs;

Relief other than monetary damages af
DATE: G / 4 Ly ? L TK 69898

Atipiney-at Yaw Attorney I.D.#
NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

 

I certify that, to my knowledge, the within case is not related to any case now pending or within one year
previously terminated action in this court except as noted above.

DATE: 09/29/2017 L A } L ) 69898
Attorney -Law” Attorney I.D.#
CIV. 609 (6/08)
Case 2:17-cv-07698-KSH-CLW Document1 Filed 09/29/17 Page 3 of 8 PagelD: 3

APPENDIX I
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

CASE MANAGEMENT TRACK DESIGNATION FORM
BRIAN J. MCDONNELL : CIVIL ACTION

v.
: NO.
NEW JERSEY TRANSIT RAIL OPERATIONS:

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a case Management Track Designation Form in all civil cases at the time of filing
the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse side
of this form.) In the event that a defendant does not agree with the plaintiff regarding said designation,
that defendant shall, with its first appearance, submit to the clerk of court and serve on the plaintiff and
all other parties, a case management track designation form specifying the track to which that defendant
believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. §2241 through §2255. a)

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits ()

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.) ( )

(f) Standard Management — Cases that do not fall into any one of the other tracks. (X )

9-29-2017 William J. Ly

 
    

Brian J. McDonnell

 

 

Date Attorney-at-law Attorney for Plaintiff
(215).546.2477 (215) 546.4698 wif@billfoxlaw.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:17-cv-07698-KSH-CLW Document 1 Filed 09/29/17 Page 4 of 8 PagelD: 4

UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF NEW JERSEY

 

BRIAN J. McDONNELL
57 Center Avenue :
Leonardo, NJ 07737 : NO.

Plaintiff
Vv.
NEW JERSEY TRANSIT
RAIL OPERATIONS
1 Penn Plaza East
Newark, NJ 07102

Defendant

 

COMPLAINT

1. Plaintiff, Brian J. McDonnell, is 54 years of age, a citizen and resident of the United
States and New Jersey and is employed by Defendant as a Senior Quality Control Specialist.

2. Defendant, New Jersey Transit Rail Operations, is a public transportation corporation
and maintains its headquarters at the above-captioned address.

3. Jurisdiction over the federal claims is invoked pursuant to 28 USC § 1343, 1331 and
29 USC §§ 626(c)(1), 1140, 29 USC § 1001, et seq. and over the state law claims pursuant to the
doctrine of supplemental jurisdiction.

4. A Charge of Discrimination was timely filed against Defendants, alleging age
discrimination and retaliation, with the Equal Employment Opportunity Commission and more
than 180 days has elapsed since the filing of the charge.

5. This action properly lies in the District Of New Jersey, Civil Division, pursuant to 28
USC §§ 1391(c), 29 USC 1132(e), because the Plaintiff resides and worked for Defendant in

New Jersey and Defendant Employer conducts business, has significant contacts in New Jersey

1
Case 2:17-cv-07698-KSH-CLW Document1 Filed 09/29/17 Page 5 of 8 PagelD: 5

and is subject to personal jurisdiction in New Jersey.
FACTS

6. In 1984, Plaintiff was hired by Defendant and has worked for Defendant continuously
since that time.

8. On multiple occasions, Plaintiff has applied for new jobs, promotions and other
assignments with Defendant Employer.

9, Since at least 2013, Plaintiff has been denied each such application or request for
promotion and/or transfer to a different position. Most, if not all, of these positions included a
substantial pay increase.

10. Each of these positions has been filled by workers substantially younger than
Plaintiff.

11. Since at least 2013, Plaintiff has complained internally on multiple occasions about
being subjected to age discrimination with regard to the terms and conditions of his employment
with Defendant Employer.

12. In December of 2016, Plaintiff filed a charge of discrimination alleging that:

a. he had been denied promotions due to his age; and,
b. he had been retaliated against when denied for these promotions because he
had previously complained to Defendant of age discrimination.

13. At all times relevant, Plaintiff has performed his job duties at or above expectations
and was well qualified for the promotions he sought.

14. At all times relevant, Plaintiff engaged in protected activity when he complained of

age discrimination to management and employees of Defendant.
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15. The failure of Defendant to promote Plaintiff and to deny him pay increases was
based on his age and retaliatory in violation of the ADEA and the New Jersey Law Against
Discrimination.

16. Any reasons that Defendants had or will articulate for failing to promote Plaintiff and
increase his pay are false and constitute a pretext.

17. Defendants’ aforementioned actions constitute discrimination and retaliation in
violation of the ADEA and the LAD.

18. As aresult of Defendant’s discriminatory and retaliatory conduct, Plaintiff has lost
and continues to lose compensation and benefits from Defendant Employer.

COUNT I- ADEA

19. Plaintiff hereby incorporates by reference paragraphs | through 18 of this Complaint
as though same were fully set forth at length herein.

20. At all times relevant Plaintiff was well qualified for his position and the jobs he
applied for.

21. Since 2013, Plaintiff has been denied each job he has applied for and each
opportunity for a promotion and higher pay. At the time of these denials, Plaintiff's age ranged
from 50 to 54.

22. On multiple occasions, Plaintiff engaged in protected activity and complained to
management that he was being denied promotions and higher wages because of his age.
Defendant ignored and failed to respond to Plaintiff's complaints of age discrimination.

23. Any reasons articulated for the failure to promote Plaintiff or pay Plaintiff higher

wages are false and constitute a pretext.
Case 2:17-cv-07698-KSH-CLW Document1 Filed 09/29/17 Page 7 of 8 PagelD: 7

24. Substantially younger employees than Plaintiff were offered these jobs and were paid
substantially more wages than Plaintiff earns and these younger employees continue to be paid
substantially higher pay than Plaintiff.

25. Defendant’s repeated refusal to promote Plaintiff and pay him higher wages
constitutes retaliation.

26. Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs
alleged and is now suffering and will continue to suffer irreparable injury from his treatment by
Defendant unless Defendant is enjoined by this Court.

27. The denial of Plaintiff the aforesaid promotions and higher pay was because of
Plaintiff's age, in violation of 29 U.S.C. § 623(a) (1) ef. seq. and, therefore, entitles Plaintiff to
relief.

28. The actions of Defendant constitute willful violations of 29 U.S.C. § 623 and, as
such, entitles the Plaintiff to recover liquidated damages.

29. As a result of Defendant’s discriminatory and retaliatory conduct, Plaintiff has lost
and continues to lose compensation and benefits.

COUNT III - STATE LAW CLAIMS

30. Plaintiff incorporates by reference paragraphs 1 through 29 of this Complaint as
though same were fully set forth at length herein.

31. Defendants have at all times material to the foregoing claims acted wilfully and
with malice toward Plaintiff. The Defendants knew, or reasonably should have known, that the
aforementioned conduct was in violation of the laws of New Jersey and the United States. The

Defendants knew, or reasonably should have known, that Plaintiff was subject to discrimination;
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yet, Defendants took no action to cease their wrongful conduct and, in fact, committed further
acts designed to cover up the patent discrimination against Plaintiff because of his age.
Accordingly, Plaintiff is entitled to compensatory damages.

49. Defendant’s aforementioned actions are in violation of the New Jersey Law Against

Discrimination.

JURY TRAIL

Plaintiff demands a jury trial of twelve jurors.

WHEREFORE, Plaintiff, Brian J. McDonnell, respectfully requests that this honorable
Court enter an order providing the following:

a. That Plaintiff recover from Defendant back pay with interest, front pay,

compensatory damages, loss benefits, loss fringe benefits, liquidated damages and such

other monetary relief the Court deems just;

b. That Plaintiff recover from Defendant his costs, including expert witness fees and

reasonable attorneys’ fees, together with such other remedies as may be provided by law;

and

c. That the Court grant such other relief, including equitable and injunctive relief, as

it deems just and proper.

WILLYAM J. Kei ESQUIRE

 

Law Offices illiam J. Fox, P.C.
Attorney for Plaintiff
1626 Pine Street

Philadelphia, PA 19103
4 (215) 546-2477
Date:
